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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA, )
)
Plaintiff, )
) PLAINTIFF’S
v. ) EXHIBIT AND WITNESS LIST
)
LINDSEY KENT SPRINGER, ) Case No. 09-CR-043-SPF
OSCAR AMOS STILLEY, )
)
Defendants. )
PRESIDING JUDGE PLAINTIFF’S ATTORNEYS DEFENDANTS’ ATTORNEYS

STEPHEN P. FRIOT

CHARLES O’REILLY, SAUSA
KENNETH SNOKE, AUSA

LINDSEY SPRINGER, Pro se
OSCAR STILLEY, Pro se

SENTENCING DATE

April 21, 2010

COURT REPORTER

COURTROOM DEPUTY

TRACY WASHBOURNE - (405) 609-5505 | LORI GRAY - (405) 609-5502

PLF. | DEF. DATE
NO. | NO. |OFFERED | MARKED | ADMITTED DESCRIPTION OF EXHIBITS AND WITNESSES
YY ee, { Brian Miller, Revenue Agent, Internal Revenue Service
Af-c2| Brian Shern, Special Agent, Internal Revenue Service
Believers Broadcast Corporation check #17851 payable to Bondage Breakers for
3 $5,000; Lea County Cashier's Check #30535 payable to Bondage Breakers Ministries
for $8,000
4 Bank of America Cashier Check #2002184783 payable to Bondage Breakers for
$12,000
5 Ortho/Neuro Medical Assoc. check #4188 payable to Lindsey Springer for $25,000
6 Ortho/Neuro Medical Assoc. check #4288 payable to Lindsey Springer for $10,000
7 Ortho/Neuro Medical Assoc. check #4340 payable to Lindsey Springer for $10,000
g First National Bank (replace chk #4347 - remitter Ortho/Neuro Medical Assoc.)
payable to Lindsey Springer for $25,000
9 Eddy or Judith Patterson check #3868 payable to Lindsey Springer for $10,000
10 Eddy or Judith Patterson check #3889 payable to Lindsey Springer for $10,000
11 Garlin Assoc. Ministries check #3192 to Bondage Breakers for $10,000
12 Manufacturers Bank Cashier Check #148198 payable to Lindsey Springer for

$10,000

Case 4:09-cr-00043-SPF_ Document 336-1 Filed in USDC ND/OK_9n 04/23/10 Pans
Case 4:09-cr-00043-SPF Document 319-2 Filed in USDC ND/OK on 03/30/2010 Pagé
PLF. | DEF. DATE
NO. | NO. |OFFERED | MARKED | ADMITTED DESCRIPTION OF EXHIBITS AND WITNESSES

Manufacturers Bank Cashier Check #148199 payable to Lindsey Springer for

13
$10,000

14 Eddy or Judith Patterson check #3943 payable to Lindsey Springer for $10,000

15 DVAT check #369 payable to Lindsey Springer for for $10,000

16 Garlin Assoc. Ministries check #3881 to Lindsey Springer $17,500; The Morning
Star Trust check #2098 payable to Lindsey Springer for $50

17 Garlin Assoc. Ministries check #3882 to Lindsey Springer $17,500

18 Roberts Chiropractic Center check # 5457 payable to Lindsey Springer for $10,000
Windyhill Management Company Trust check #2197 payable to Bondage Breakers

20 Ministry for $400; Chippewa Trail Lodge check #1430 payable to Bondage Breakers
Ministries for $13,000

1 Chippewa Trail Lodge check #1432 payable to Bondage Breakers Ministries for
$5,000

22 Cynthia Hawkins check #0094 payable to Bondage Breakers Ministries for $30,000

23 Cynthia Hawkins check #561 payable to Bondage Breakers Ministries for $37,000
Chippewa Trail Lodge check #1022 payable to Bondage Breakers Ministries for

24
$35,000
Arkansas IOLTA Foundation Trust Acct. check #634 payable to Jerold Barringer for

25 $668.75; Arkansas IOLTA Foundation Trust Acct. check #635 payable to Lindsey
Springer for $14,539
Arkansas IOLTA Foundation Trust Acct. check #641 payable to Lindsey Springer for

26 $35,000; Arkansas IOLTA Foundation Trust Acct. check #642 to Jerold Barringer for
$193.75

27 Salvatore Pizzino and Melissa Pizzino check #567 payable to Lindsey Springer for
$6,500

28 Michael P. Burt check #7650 payable to Bondage Breakers Ministry for $7,500

29 Compass Rose Enterprise check#1062 payable to Bondage Breakers for $3,750
Sierra Foundation Mgmt., LLC check #963 payable to Bondage Breakers Ministries

30
for $7,500

31 Cynthia Hawkins check #893 payable to Bondage Breakers Ministries for $12,500

32 Paragon Bank and Trust check #0007 payable to Lindsey Springer for $50,000

33 Superior Bank Cashier's Check #1043 payable to Lindsey Springer for $20,000

34 Superior Bank Cashier's Check #1044 payable to Lindsey Springer for $20,000

35 Superior Bank Cashier's Check #1045 payable to Lindsey Springer for $20,000

36 Superior Bank Money Orders withdrawn IOLTA account totaling $18,000

37 CitiBank check #233784633 (remitter Russell Young) payable to Lindsey Springer
for $7,500
Mayberry 2000, LLC check #1969 payable to Bondage Breakers Ministries for

38
$45,000

39 Sierra Foundation Mgmt, LLC check #983 payable to Bondage Breakers Ministry for
$10,000
Lone Star Enterprises Holding Trust check #1017 payable to Lindsey Springer for

40 $25,000

Page 2 of 13 Pages

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of 13

Case 4:09-cr-00043-SPF_ Document 336-1 Filed in USDC ND/OK on_04/23/10 Page 3 of 25
Case 4:09-cr-00043-SPF Document 319- DC ND/OK on 03/30/2010 Page 3 of 13

PLF. | DEF. DATE
NO. {| NO. {OFFERED | MARKED | ADMITTED DESCRIPTION OF EXHIBITS AND WITNESSES

41 Friendship Enterprises check #1472 payable to Bondage Breakers Ministry for $500

42 Shelby County State Bank Cashier Check #088193 (remitter Denny Patridge) payable
to Lindsey Springer for $6,000
United States Postal Money Order #07369713393 (remitter Gary Goldman) payable

43 to Lindsey Springer for $150; Windyhill Management Company Trust check #2486
payable to Bondage Breakers Ministries for $500; Guy Francis check #431 to
Bondage Breakers Ministries for $4,000

44 Lone Star Enterprises Holding Trust check #1023 to Lindsey Springer for $15,000
dtd 10/28/04

45 Meracles Un-Limited check #2251 payable to Lindsey Springer for $10,500

46 Shelby County State Bank Cashier Check #089649 (remitter Denny Patridge) payable
to Lindsey Springer for $3,500

47 Meracles Un-Limited check #2277 payable to Lindsey Springer for $13,000

48 Denny Patridge check #1782 payable to Lindsey Springer for $10,000
Herbert Mott and Charlene Mott check #1881 payable to Lindsey Springer for

49
$10,000

50 Denny Patridge and Judy Patridge check #4152 payable to Lindsey Springer for
$5,000

51 Beach Fire Corp Dba Tahiti Trader check #06-602 payable to Bondage Breakers for
$20,000

52 Believers Broadcasting Corp. check #12031 to Lindsey Springer for $20,000

53 Denny Patridge and Judy Patridge check #3041 payable to Lindsey Springer for
$5,000; Le Roy Peaslee check #225 payable to Lindsey K Springer for $250

54 Beach Fire Corp Dba: Tropical Fruit Co. Dba: Tahiti Trader Co. check #7245 payable
to Bondage Breakers Ministry for $5,000

55 Denny Patridge check #563 payable to Lindsey Springer for $5,000

56 American Savings Bank Cashier Check # 400942577 payable to Bondage Breakers
Ministry for $45,000; Sam Palmer check #278 payable to Lindsey Springer for $500
Guthrie Todd B check #0001403844 payable to Lindsey Springer for $500; American

57 Savings Bank Cashier Check # 400942592 payable to Bondage Breakers Minst. for
$5,000; Regions Bank Official Check #795083135 (remitter Creation Science
Evangelism) payable to Bondage Breakers Ministry for $10,000

58 Believers Broadcasting Corp. check #12602 to Bondage Breakers for $100,000

59 Town & Country Bank cashier check#135325 (Remitter Lindsey Springer) payable to
Lindsey Springer for $20,000

60 Town & Country Bank cashier check #135326 (Remitter Lindsey Springer) payable
to Lindsey Springer for $20,000
Kathryn or James M. Stumpo check # 3287 payable to Bondage Breakers Ministries

64
for $3,750

7 Ortho/Neuro Medical Assoc. check #4185 payable to Oscar Stilley for $5,000

72 Eddy or Judith Patterson check #3724 payable to Oscar Stilley for $5,000

73 Ortho/Neuro Medical Assoc. check #4287 payable to Oscar Stilley for $20,000

74 Ortho/Neuro Medical Assoc. check #4442 payable to Oscar Stilley for $10,000

75 DVAT check #329 payable to Oscar Stilley for $20,000

Page 3 of 13 Pages
Case 4:09-cr-00043-SPF_ Document 336-1 Filed in Yar NP ND ONO ASLO LP agg
Case 4:09-cr-00043-SPF Document 319-2 Filed in US N IR’ Pagé 4
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76 Ortho/Neuro Medical Assoc. check #4772 payable to Oscar Stilley for $5,000
77 Eddy or Judith Patterson check #3959 payable to Oscar Stilley for $5,000
78 DVAT check #392 payable to Oscar Stilley for $15,000
79 DVAT check #411 payable to Oscar Stilley for $5,000
80 Ortho/Neuro Medical Assoc. check #4994 payable to Oscar Stilley for $10,000
81 DVAT check #503 payable to Oscar Stilley for $5,000
82 DVAT check #513 payable to Oscar Stilley for $1,500
83 DVAT check #515 payable to Oscar Stilley for $3,000
84 Ortho/Neuro Medical Assoc. check #5313 payable to Oscar Stilley for $5,000
85 James Lake check #3678 payable to Oscar Stilley for $1,000
86 DVAT check #550 payable to Oscar Stilley for $6,000
87 James Lake check #993 payable to Oscar Stilley for $5,000
88 Emest Swisher check #210 payable to Oscar Stilley for $500
89 Heber Springs State Bank Cashier's Check payable to Emie Swisher for $4,000
90 Arvest bank statement reflecting wire transfer deposit for $2,000
91 Ozark Title Services check #2460 payable to Oscar Stilley, Attorney for $65,000
92 Arkansas IOLTA Foundation Trust Acct. check #510 to Lindsey Springer $9,436
93 Bank One Official Check payable to Oscar Stilley Atty. for $5,000;
94 Chippewa Trail Lodge check #1421 payable to Oscar Stilley - IOLTA for $4,445
95 Chippewa Trail Lodge check #1429 payable to Oscar Stilley for $5,555
96 Chippewa Trail Lodge check #1013 payable to IOLTA - Oscar Stilley for $8,000
97 Chippewa Trail Lodge check #1021 payable to IOLTA - Oscar Stilley for $20,000
98 Tulsa Sales and Rental check #10005 payable to Oscar Stilley for $5,000
99 Joseph B. Albin check #1592 payable to Eddie Patterson and Judy Patterson for
$112,500
100 Salvatore Pizzino and Melissa Pizzino check #568 payable to Oscar Stilley for $2,500
102 Superior Cashier's Check #057446 to Ed Bryson for $37,000 (notation - RE: Lindsey
Springer)
103 Cynthia Hawkins check #894 payable to IOLTA - Oscar Stilley for $7,500.
104 Paragon Bank and Trust check payable to Oscar Stilley for $50,000
105 Cynthia Hawkins check #726 payable to IOLTA - Oscar Stilley for $25,000
106 Cynthia Hawkins check #727 payable to Bondage Breakers Minstries for $25,000
and deposited into Stilley's IOLTA account
107 Arkansas IOLTA Foundation Trust Account statement relecting $375,059.90
incoming wire from WT Hall Estill and wire advice
108 Tulsa Sales and Rental check #3560 payable to Oscar Stilley for $20,000
109 Lone Star Enterprises Holding Trust check #1013 payble to Oscar Stilley for $25,000
110 Michael P, Burt check #138 payable to Oscar Stilley for $2,100 and deposit slip

Page 4 of 13 Pages

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Wi Lone Star Enterprises Holding Trust check #1024 payble to Oscar Stilley for $10,000
with notation "Berringer" and deposit slip

12 Casabella Enterprises check #1946 payable to Oscar Stilley for $10,000; H.R.
Fellowship Church check #1264 payable to Oscar Stilley for $545 and deposit slip

113 Salvatore Pizzino check payable to Oscar Stilley for $7,500 and deposit slip

14 Arvest Bank IOLTA account statement reflecting receipt of $192,000 and $58,000
wire transfers from Patricia L Tumer

16 Arvest Bank statement reflecting wire transfer deposits for $5,000 remitter Wipe Out
Trust and for $10,000 remitter B Swan Company Trust

UB Foremost Labs check #11252 payable to IOLTA Foundation for $5,000 and deposit
slip

119 Foremost Labs check #11259 payable to IOLTA Foundation for $6,000 and deposit
slip

120 Foremost Labs check #11264 payable to IOLTA Foundation for $5,000 and deposit
slip

121 Foremost Labs check #11271 payable to IOLTA for $5,000 and deposit slip

122 East Coast Management check #207 payable to Oscar Stilley for $5,000 and deposit
slip
Foremost Labs check #11294 payable to IOLTA Foundation for $2,000; Bancorp

124 South Official Check #43 1010928 (remitter Bob Bouton) payable to Oscar Stilley for
$1,000
East Coast Management check #260 payable to Oscar Stilley for $3,000; The

126 Logsdon Family Trust check #10443 payable to IOLTA Foundation for $2,000 and
deposit slip
Foremost Labs check #11324 payable to IOLTA Foundation for $3,000; Regions

127 Bank Official Check #74253 1384 (remitter Alyson Bradford) payable to Oscar Stilley
for $5,000 and deposit slip
Doris Hanson or Byron Hanson check #2058 payable to Oscar Stilley for $40;

128 Foremost Labs check #11332 payable to JOLTA Foundation for $3,000 and deposit
slip

131 Beach Fire Corp Dba Tahiti Trader check #06-601 payable to Oscar Stilley for
$10,000 and deposit slip

132 Wells Fargo Bank check payable to Oscar Stilley for $4,000 and deposit slip

133 Beach Fire Corp Dba Tahiti Trader check #7089 payable to Oscar Stilley, Attorney at
Law for $10,000 and deposit slip

134 American Savings Bank Cashiers Check #400942480 payable to Oscar Stilley for
$175,000 and deposit slip
Arkansas IOLTA Foundation check #2042 payable to Bondage Breakers Ministries

135
for $25,000

136 Land Shark Inc. check #1061 payable to Oscar Stilley for $3,500 and deposit slip

137 Land Shark Inc. check #1084 payable to Oscar Stilley for $5,000 and deposit slip
Arvest Bank Outgoing Wire Transfer advice from Oscar Stilley to Bennett for

138
$50,000

139 Arkansas IOLTA Foundation check #2049 payable to Alan Richey for $25,000 -
memo "Bennett, Hamlet"

140 Land Shark Inc. check #1228 payable to Oscar Stilley for $10,000 and deposit slip

Page 5 of 13 Pages

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151 Eddy Patterson check #3711 payable to Oscar Stilley for $2,275; John or Reta
Remington check #3703 payable to Oscar Stilley for $200 and deposit slip
Eddy Patterson or Judy Patterson check #3078 payable to Oscar Stilley for $1,815;

152 Paragon Foundation Inc. check #2633 payable to Oscar Stilley for $2,442.92 and
deposit slip

153 Eddy Patterson or Judy Patterson check #1415 payable to Oscar Stilley for $862.50
and deposit slip

154 Eddy Patterson or Judy Patterson check #1497 payable to Oscar Stilley for $877 and
deposit slip

155 Salvatore Pizzino and Melissa Pizzino check #541 and #545, each payable to Oscar
Stilley for $2,500

156 Carter Numismatics check #20778 payable to Lindsey Springer for $56,000

159 DVAT check #419 payable to Linsey Springer for $5,000

160 DVAT check #439 payable to Lindsey Springer for $3,000

201 Chippewa Trail Lodge check #1402 payable to Lindsey Springer for $5,000
Chippewa Trail Lodge check #1431 payable to Bondage Breakers Ministry for

203
$7,000

206 Chippewa Trai] Lodge check #1480 payable to IOLTA - Oscar Stilley for $11,000
Chippewa Trail Lodge check #1433 payable to Bondage Breakers Ministries for

207
$8,000

209 Cynthia Hawkins check #563 payable to IOLTA - Oscar Stilley for $27,000

212 Cynthia Hawkins check #576 payable to Bondage Breakers Ministries for $8,000

221 Patrick & Patricia Turner check #1322 payable to Lindsey Springer for $1,000

226 Friendship Enterprises check #1422 payable to Bondage Breakers for $500

227 Friendship Enterprises check #1446 payable to Bondage Breakers for $550

228 Friendship Enterprise check #1498 payable to Bondage Breakers for $500

230 Friendship Enterprise check #1539 payable to Bondage Breakers for $1,000

231 Friendship Enterprise check #1548 payable to Bondage Breakers for $1,000

236 Patrick and Patricia Turner check #1624 payable to Bondage Breakers for $1,000

675 Summary - Gross Income for 2000

676 Summary - Gross Income for 2001

677 Summary - Gross Income for 2002

678 Summary - Gross Income for 2003

679 Summary - Gross Income for 2004

681 Summary - Gross Income for 2005

683 Summary for the Years 2000 through 2005
Hedberg Declaration Trust check #535 payable to Dale Hedberg for

1001 Lod Af -2./ $111, 701.50

1002 / The Okemah National Bank Cashier's Check #166794 (remitter Sam Palmer) payable
to Lindsey Springer for $10,000

Page 6 of 13 Pages

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1003 fe od Aye olf Midsummer Farms check #3692 payable to Bondage Breakers for $10,000
National Commercial Bank transfer USD Draft #6180 payable Bondage Breakers

1004 ) Ministry for $9,779.96 (USD $3,632.21) and Debit Advice for transaction from St.
Vincent, West Indies

1005 | A.C. & R. Group Ltd. check #1625 payable to Lindsey Springer for $6,000

1006 | Patrick R or Patricia L Tumer check #1904 payable to Bondage Breakers for $900
Creation Science Evangelism Ministry check #1124 payable to Bondage Breakers

1007 Ministry for $10,000 and Guthrie Gift check #0091962353 payable to Lindsey
Springer for $500

1008 Creation Science Evangelism Ministry check #1151 payable to Bondage Breakers
Ministry for $10,000

1009 Dale & Cheryl Phillips check #3803 payable to Lindsey Springer for $7,500

1010 Patrick R or Patricia L Turner check #1957 payable to Bondage Breakers for $400

1011 Patrick & Patricia Turner Quicken Report including check #s 2061, 2062 and 2153
payable to Bondage Breakers Ministry totaling $1,000

1012 | Joe McCutchen check #3230 payable to Oscar Stilley for $2,500

1013 | Lewis & Associates Inc. check #123 payable to Oscar Stilley for $25,000

1014 | Lewis & Associates Inc. check #124 payable to Oscar Stilley for $25,000

1015 | Lewis & Associates Inc. check #4997 payable to Oscar Stilley for $3,000

1016 | Maddox & Madox check #3900 payable to Oscar Stilley Trustee for $6,033

1017 Lewis & Associates Inc. check #5231 payable to Oscar Stilley for $10,598.37
Fish R Manufacturing Services check #1020 payable to Oscar Stilley Attorney for

1018
$1,000

1019 Ronald R. or Brenda Gibbons check #7065 payable to Oscar Stilley for $5,000

1020 Arvest State Bank Cashier's Check #466837 (remitter Jeanne Davenport) payable to
Oscar Stilley for $2,500

1021 Spirit State Bank Cashier's Check #004592 (remitter Jeanne Davenport) payable to
Oscar Stilley for $2,500

1022 Steven D. or Terri D. Young check #5032 payable to Oscar Stilley for $5,000

1023 E. Kent Hirsh, P.A. check #2352 payable to Oscar Stilley for $1,278.88 and deposit
slip

1024 E. Kent Hirsh, P.A. check #2360 payable to Oscar Stilley for $15,751.46 and deposit
slip

1025 E. Kent Hirsh, P.A. check #2374 payable to Oscar Stilley for $12,845.94 and deposit
slip

1026 Arthur B. Stephens and Brenda June Stephens check #1001 payable to Oscar Stilley
for $1,012.50 and deposit slip

1027 \ L. Ward Dobbs check #1724 payable to Oscer [sic] Stilley for $1,000

1028 Marcey Hamm wire remittance payable to Arkansas IOLTA Foundation Trust Acc for
Oscar Stilley for $20,480.35
Mechanical Fisher check #3931 payable to IOLTA Trust Account for Oscar Stilley

1029 for $2,500

Page 7 of 13 Pages

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Arvest Bank statement reflecting wire transfer deposit for $3,500 remitter Marcey

1030 AL2| Ay a. ( Hamm

1031 Arkansas Municipal League check #013549 payable to Oscar Stilley, Esq. for
$37.500

1032 First State Bank Cashier's Check #250235 (remitter Kirk Stock) payable to Oscar
Stilley for $2,000 and deposit slip

1033 Paragon Foundation, Inc. check #3473 payable to Oscar Stilley for $1,357.63; Joe
McCutchen check #5434 payable to Oscar Stilley for $100 and deposit slip

1034 Arvest Bank Cashier's Check #0865382 (remitter Tobi A Walker) payable to Oscar
Stilley for $1,580.78 and deposit slip

1035 Gary or Mary Morrow check #8948 payable to Oscar Stilley for $1,000 and deposit
slip

1036 Gary or Mary Morrow check #2669 payable to Oscar Stilley for $1,000 and deposit
slip

1037 Wells Fargo Bank check payable to Oscar Stilley for $5,000 and deposit slip

1038 First State Bank Cashier's Check #256489 (remitter Kirk Stock) payable to Oscar
Stilley for $1,000 and deposit slip

1039 | Esther M. Aberle check #1164 payable to Oscar Stilley for $7,500 and deposit slip

1040 | Quantum Concepts check #1580 payable to Oscar Stilley for $2,000 and deposit slip

1041 Americans for Limited Government Foundation check #2716 payable to Oscar Stilley
for $5,425.50 and deposit slip

1043 | Quantum Concepts check #1595 payable to Oscar Stilley for $5,000 and deposit slip

1044 First State Bank Cashier's Check #259990 (remitter Kirk Stock) payable to Oscar
Stilley for $300 and deposit slip

1045 Chase Official Check #54 1934310 (remitter Paul Frazell) payable to Oscar Stilley for
$2,500 and deposit slip

1046 JFJ PA, Inc. check #1039 payable to Oscar Stilley for $15,000 and deposit slip

1047 Quantum Concepts check #1631 payable to Oscar Stilley for $5,000 and deposit slip

1048 Cathy C Peacock check #104 payable Oscar Stilley, Attorney for $1,500

1049 Cathy C Peacock check #107 payable Oscar Stilley, Att. for $475; Karen H. Page and
Kathy L. Williams check #532 payable to Oscar Stilley for $5,000 and deposit slip

1050 Anshin Enterprise Inc. check #1031 payable to Oscar Stilley for $7,500 and deposit
slip

1051 Washington Mutual Bank Official Check #889067207 payable to Oscar Stilley for
$5,000

1052 United States Postal Money Orders (ten) (remitter LFT) payable to IOLTA totaling
$9,997 and deposit slip

1053 Morton Community Bank Cashier's Check #041322 (remitter Robert Lawrence)
payable to Oscar Stilley for $3,065.97 and deposit slip

1054 Todd Guthrie and Patricia L Guthrie check #1125 payable to Oscar Stilley for $5,000
and deposit slip
First State Bank Cashier's Check #28473 (remitter Kirk Stock) payable to Oscar

1055 Stilley for $250; Quantum Concepts check #1682 payable to Oscar Stilley for $2,500
and deposit slip

Page 8 of 13 Pages

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Document 3

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1056 2( JB Foundation check #223 payable to Oscar Stilley for $120; Anshin Enterprise Inc.

Lb ‘ j- al check #1116 payable to Oscar Stilley for $7,500 and deposit slip

Elite Care Center LLC check #4652 payable to Oscar Stilley Attomey at Law for

1057 $2,500; Americo Insurance check #05356175 payable to Leroy M Bennett Jr. for
$10,651.51 and deposit slip

1058 | | Foley Road Boat check #8569 payable to Oscar Stilley for $3,000 and deposit slip

1059 Millenium Connection LLC check #156 payable to Oscar Stilley for $25,000 and
deposit slip
Todd Guthrie and Patricia L Guthrie check #1125 payable to Oscar Stilley for

1060 $28.54; Anshin Enterprise Inc. check #1175 payable to Oscar Stilley for $4,000 and
deposit slip
Lauren Anne Redeker check #103 payable to IOLTA Account for Oscar Stilley for

1061 $8,500; Warran T. Barry check #5036 payable to IOLTA Account for Oscar Stilley
for $16,500 and deposit slip

1062 Eric P. Benson TTE check #0479 payable to Oscar Stilley for $20,000 and deposit
slip

1063 Empower Enterprises check #10532 payable to Oscar Stilley for $25,000 and deposit
slip

1064 Thomasville National Bank Cashier's Check #29148 (remitter Donnie Griner)
payable to Oscar Stilley for $9,500 and deposit slip

1065 First State Bank Cashier's Check #30330 (remitter Kirk Stock) payable to Oscar
Stilley for $250 and deposit slip

1066 Thomasville National Bank Cashier's Check #29235 (remitter Donnie Griner)
payable to Oscar Stilley for $6,000 and deposit slip
Natural Health Resources check #7677 payable to Oscar Stilley, Attorney at Law for

1067 $20,000; Empower Enterprises check #10589 payable to Oscar Stilley for $1025,000
and deposit slip

1068 Arvest Bank statement reflecting wire transfer deposit for $25,000 remitter Empower
Enterprises
Wayne McEachern and Sharon McEachern check #5377 payable to Oscar Stilley for

1069 “eas
$10,000 and deposit slip

1070 LaSalle Bank Official Check #036804136-5 (remitter Brent N Gross) payable to
Oscar Stilley for $5,000 and deposit slip

1071 Truman Bank Cashier's Check #4976197296 (remitter John Calandrella) payable to
Oscar Stilley Attorney at Law for $15,000 and deposit slip

1072 | National Exteriors check #4304 payable to Oscar Stilley for $5,000 and deposit slip

1073 Daniel J. Delphia check #0007557895 payable to Stilley, Oscar Atty for $2,500;
Avagon LLC check #1218 payable to Oscar Stilley for $5,000 and deposit slip

1074 L Richard Shearer M.D. Inc. check #2726 payable to Oscar Stilley for $4,500 and
deposit slip
Arvest Bank statement reflecting wire transfer deposit for $4,500 remitter L Richard

1075
Shearer MD Inc.

1076 Metropolitan National Bank Cashier's Check #059292 (remitter Rhonda Hartzell)
payable to Oscar Stilley for $5,000 and deposit slip

1077 Avagon LLC check #1250 payable to Oscar Stilley for $5,000 and deposit slip

1078 Glenda K Sapp check #500 payable to Oscar Stilley for $5,000 and deposit slip

Page 9 of 13 Pages

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DESCRIPTION OF EXHIBITS AND WITNESSES

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Bank of America Cashier Check #0052807 (remitter Hein Family Trust) payable to
Paul or Loretta Hein for $5,000 and deposit slip

1080

|

Roger C. Mattson check #1979 payable to Mr. Oscar Stilley for $2,500; Gene Basile
TTE and Virginia Ann Basile TTE check #4665 payable to Oscar Stilley for $15,000;
Donnie C. Griner check #1051 payable to Oscar Stilley Att at Law for $4,000; Daniel
J. Delphia check #0030250281 payable to Stilley, Oscar Atty for $1,000 and deposit
slip

1081

Office of TTE Mark A Lobello and his Successors check #2002 payable to Oscar
Stilley Trust Account for $9,000 and deposit slip

1082

Unknown Payor Name (check signed by Jan Mellor) payable to Oscar Stilley
Attorney at Law for $4,561.83

1083

Dr. Eric D, Nickhaus and Robin K. Nickhaus check #9231 payable to Mr. Oscar
Stilley for $2,000; Office of TTE Mark A Lobello and his Successors check #2005
payable to Oscar Stilley Esq Trust Account for $10,000; Puyallup Chiropractic Clinic
Inc. check #14453 payable to Oscar Stilley for $2,500 and deposit slip

1084

R.T. Mizuno LLC check #0120 payable to Oscar Stilley for $2,500; Dr. Eric D.
Nickhaus and Robin K. Nickhaus check #9246 payable to Mr. Oscar Stilley for
$1,500 and deposit slip

1085

Louis E Johnson check #2439 payable to Oscar Stilley Att at Law for $1,000 and
deposit slip

1086

United States Postal Money Order #92965811062 (remitter Ward Scott Wood)
payable to Oscar Stilley for $1,000; Kevin L Terry D.C. and Miran A Terry check
#11192 payable to Oscar Stilley for $2,000; MidFlorida Federal Credit Union
Cashier's Check #3909386 (payee illegible) for $2,500; Help and Support LLC
check #381 payable to Oscar Stilley for $5,000 and deposit slip

1087

United States Postal Money Order #11051727693 (remitter Ward Scott Wood)
payable to Oscar Stilley for $500 and deposit slip

1088

Donnie C. Griner check #1122 payable to Oscar Stilley for $2,000 and deposit slip

1089

Charles R. Glenn check #1066 payable to Oscar Stilley Attorney at Law for $2,500

1090

Ann T. Gardner check #516 payable to Oscar Stilley for $1,000 and deposit slip

1091

Barry G. Brockman check #5163 payable to Oscar Stilley for $5,000; First State
Bank Cashier's Check #37960 (remitter Kirk Stock) payable to Oscar Stilley for
$721.60 and deposit slip

1092

United States Postal Money Order #92961167321 (remitter Ward Scott Wood)
payable to Oscar Stilley for $250 and deposit slip

1093

Niehaus Chiropractic Clinic check #1138 payable to Oscar Stilley for $11,000; Total
Wellness Solutions check #0080039609 payable to Stilley, Oscar Atty for $1,000 and
deposit slip

1094

Gene P Borelli check #536 payable to Oscar Stilley for $2,000; Gene P Borelli check
#535 payable to Oscar Stilley for $1,400; Bonnie B Brokaw check for $2,000 and
deposit slip

1095

Minerals & Royalty, Inc. check #2057 payable to Oscar Stilley for $3,223.55 and
deposit slip

1096

Donnie C. Griner check #1217 payable to Oscar Stilley for $7,000 and deposit slip

1097

Louis E Johnson check #2442 payable to Oscar Stilley Attorney at Law for $500;
MidFlorida Cashier's Check #3910041 (remitter Robert King) payable to Oscar
Stilley for $2,000; Puyallup Chiropractic Clinic Inc. check #14591 payable to Oscar
Stilley for $500 and deposit slip

Page 10 of 13 Pages

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Document 3

PLF, | DEF. DATE
NO. {| NO. |OFFERED |MARKED | ADMITTED DESCRIPTION OF EXHIBITS AND WITNESSES

Charles R. Glenn check #2289 payable to Oscar Stilley for $1,000; Total Wellness
Solutions check #0016656103 payable to Stilley, Oscar Atty for $1,000; Donnie C.

1098 ALAl AL i { Griner check #1297 payable to Oscar Stilley for $4,000; R T Mizuno LLC check

#4061 payable to Oscar Stilley for $5,000 and deposit slip

Gene P Borelli check #538 payable to Oscar Stilley for $1,000; Louis E Johnson

1099 check #2443 payable to Oscar Stilley Att at Law for $500 and deposit slip

the Presiding

Barry G. Brockman check #5562 payable to Oscar Stilley for $10,000 and deposit

slip

1100 Arvest Bank statement reflecting wire transfer deposit for $175,000 remitter Office of
1101 |

1102 First Bank Official Check #10752574 (remitter Wayne McEachern) payable to Oscar
Stilley for $500 and deposit slip

Puyallup Chiropractic Clinic Inc. check #14637 payable to Oscar Stilley for $2,500;
MidFlorida Cashier's Check #3910462 (remitter Patricia King) payable to Oscar
1103 Stilley for $582; Abrasive Innovations check #1229 payable to Oscar A. Stilley;
Louis E, Johnson check #2444 payable to Oscar Stilley Att. at Law for $1,000 and
deposit slip

1104 Niehaus Chiropractic Clinic check #1159 payable to Oscar Stilley for $6,000 and
deposit slip

Les Hugaboom and Imelda-Lisa Ignacio check #1580 payable to Oscar Stilley for
1105 $2,500; Barry L. Cox and Janis L. Cox check #1122 payable to Oscar Stilley for
$2,500 and deposit slip

1106 Arvest Bank statement reflecting wire transfer deposit for $2,000 remitter Paul A
Hein

1107 Donnie C. Griner check #1345 payable to Oscar Stilley for $3,000 and deposit slip

1108 Ideal Systems Inc. check #1039 payable to Oscar Stilley Atty at Law for $4,000 and
deposit slip

1109 Shell Community Federal Credit Union Cashier's Check #75659 payable to Oscar
Stilley or Ward Scott Wood for $1,110.70

1110 L&F Farms LLC check #1311 payable to Oscar Stilley for 14,000 and deposit slip
Eric P. Benson TTE The Dorian Foundation check #0682 payable to Oscar Stilley for

lll gs
$3,000 and deposit slip
ABC Seamless Siding check #19953 payable to Oscar Stilley attorney at law for

1112 yn
$2,500 and deposit slip

113 Dale Parks check #366 payable to Oscar Stilley Attorney at Law for $5,000 and
deposit slip

1114 Arvest Bank statement reflecting wire transfer deposit for $5,000 remitter Gary Bell
Total Wellness Solutions check #0073 678578 payable to Stilley, Oscar Atty for

1115 $2,500; Timothy and Neketta Marks check #1331 payable to Oscar Stilley for $1,000
and deposit slip
First State Bank Cashier's Check #51092 (remitter Kirk Stock) payable to Oscar

1116 :
Stilley for $300

1117 Barry Brockman check #6000 payable to Oscar Stilley for $5,000

1118 Renee and Brett Dirr check #1060 payable to Oscar Stilley for $2,500 and deposit
slip

19 \ \ Renee and Brett Dirr check #1061 payable to Oscar Stilley for $3,441.64 and deposit
slip

Page 11 of 13 Pages

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PLF. | DEF. DATE

NO. | NO. |OFFERED | MARKED | ADMITTED DESCRIPTION OF EXHIBITS AND WITNESSES
1120 i 2] / , Ql Renee and Brett Dirr check #1063 payable to Oscar Stilley for $2,580 and deposit
“ slip
1121 Chase Bank Official Check #111631974 (remitter C. Ledford) payable to Oscar
Stilley Attorney at Law for $5,000 and deposit slip

Ideal Systems Inc. check #1061 payable to Oscar Stilley Atty at Law for $2,000;
1122 Total Wellness Solutions check #0093947996 payable to Stilley, Oscar Atty for
$1,000 and deposit slip

ABC Seamless Siding check #20983 payable to Oscar Stilley attorney at law for

1123 ae
$2,500 and deposit slip

1124 Les Hugaboom and Imelda-Lisa Ignacio check #1776 payable to Oscar Stilley for
$2,500 and deposit slip

1125 United States Postal Money Order #12226728047 (remitter Tim Roney) payable to
Oscar Stilley for $1,000 and deposit slip

1126 Total Wellness Solutions check #0013474036 payable to Stilley, Oscar Atty for $500
and deposit slip

1127 P.A. Pflum check #975 payable to Oscar Stilley for $2,500 and deposit slip

Barry G. Brockman check #6221 payable to Oscar Stilley for $5,000; Chase Cashier's
Check #9125700624 (remitter Charles Ledford) payable to Oscar Stilley for $5,000;

1128 Timothy Neil Marks M.D. PA check #114 payable to Oscar Stilley for $5,000;
Timothy Marks check #0091 payable to Oscar Stilley for $5,000 and deposit slip

1129 TSEW Corporation check #1531 payable to Oscar Stilley for $2,000 and deposit slip

1130 Timothy and Neketta Marks check #1436 payable to Oscar Stilley for $4,200 and

deposit slip

Total Wellness Solutions check #0034700854 payable to Oscar Stilley Attorney for
1131 $2,000; Neighbors Credit Union Official Check #000090235 (remitter Gary Bell)
payable to Oscar Stilley Attorney at Law for $500 and deposit slip

ABC Seamless Siding check #21805 payable to Oscar Stilley attorney at law for
1132 ae
$1,500 and deposit slip

Imelda-Lisa Ignacio, DDS check #1417 payable to Oscar Stilley for $2,000; M.

1133 Rhona Lee and Anna J. Flaherty check #989 payable to Oscar Stilley for $700 and
deposit slip

1134 Paypal Records for Account in the name of Lindsey Springer Covering 06/16/2006
through 12/30/2009

1135 Paypal Records for Account in the name of Oscar Stilley Covering 11/14/2006
through 08/14/2009

1136 IRS Account Transcript of Lindsey Kent Springer for Tax Year 1990

1137 IRS Account Transcript of Lindsey Kent Springer for Tax Year 1991

1138 IRS Account Transcript of Lindsey Kent Springer for Tax Year 1992

1139 IRS Account Transcript of Lindsey Kent Springer for Tax Year 1993

1140 IRS Account Transcript of Lindsey Kent Springer for Tax Year 1994

1141 IRS Account Transcript of Lindsey Kent Springer for Tax Year 1995

1142 \ IRS Account Transcript of Oscar Amos Stilley for Tax Year 2002

1143 | IRS Account Transcript of James Lake for Tax Year 2000

1144 \ IRS Account Transcript of Eddy and Judith Patterson for Tax Year 1997

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Page 12 of 13 Pages

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PLF. | DEF. | DATE

NO. | NO. |OFFERED |MARKED | ADMITTED DESCRIPTION OF EXHIBITS AND WITNESSES
1145 AL ol At- 2 IRS Account Transcript of Eddy and Judith Patterson for Tax Year 1998
1146 | IRS Account Transcript of Eddy and Judith Patterson for Tax Year 1999
1147 / IRS Account Transcript of Eddy and Judith Patterson for Tax Year 2000
1148 IRS Account Transcript of Philip Roberts for Tax Year 1992

1149 IRS Account Transcript of Philip Roberts for Tax Year 1993

1150 IRS Account Transcript of Philip Roberts for Tax Year 1994

1151 IRS Account Transcript of Philip Roberts for Tax Year 1995

1152 IRS Account Transcript of Patrick and Patricia Turner for Tax Year 1999
1153 J IRS Account Transcript of Patrick and Patricia Turner for Tax Year 2000
1154 IRS Account Transcript of Patrick and Patricia Turner for Tax Year 2001
1155 IRS Account Transcript of Patrick and Patricia Turner for Tax Year 2002
1156 { | IRS Account Transcript of Patrick and Patricia Turner for Tax Year 2003
1157 Transcript of Defendant Springer's Testimony in 09-CR-043-SPF

1158 Transcript of Defendant Stilley's Testimony in 09-CR-043-SPF

1159 «jal Af, al Summary of Gross Income for 1999 - Springer

1160 Summary of Gross Income for 2000 - Springer

1161 Summary of Gross Income for 2001 - Springer

1162 Summary of Gross Income for 2002 - Springer

1163 Summary of Gross Income for 2003 - Springer

1164 Summary of Gross Income for 2004 - Springer

1165 Summary of Gross Income for 2005 - Springer

1166 Summary of Gross Income for 2006 - Springer

1167 Summary of Gross Income for 2007 - Springer

1168 Summary of Gross Income for 2000 - Stilley

1169 Summary of Gross Income for 2001 - Stilley

1170 Summary of Gross Income for 2002 - Stilley

1171 Summary of Gross Income for 2003 - Stilley

1172 Summary of Gross Income for 2004 - Stilley

1173 Summary of Gross Income for 2005 - Stilley

1174 Summary of Gross Income for 2006 - Stilley

1175 Summary of Gross Income for 2007 - Stilley

1176 Summary of Gross Income for 2008 - Stilley

i177 Summary of Third Party Tax Losses

1178 hy { Summary of Tax Loss and Restitution - Springer

1179f4 | Summary of Tax Loss and Restitution - Stilley

Page 13 of 13 Pages

Case 4:09-cr-00043-SPF Document 336-1 Filed in USDC ND/OK on 04/23/10 Page 14 of 25

Case 4: 09- cr-00043- SPF Document 325 Filed in USDC ND/OK on 04/06/2010 Page 1 of 2

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF OKALHOMA
Spr ingh
UNITED STATES OF AMERICA EXHIBIT AND WITNESS LIST
V.
Lindsey Kent Springer Case Number: 09-CR-043-SPF
PRESIDING JUDGE PLAINTIFF'S ATTORNEY DETFENDANT’S ATTORNEY
STEPHEN P. FRIOT THOMAS SCOTT WOODWARD NONE
TRIAL DATE (8) COURT REPORTER COURTROOM DEPUTY
OCTOBER 26, 2009
Bee | ogeteen  |MARKED |ADMITTED DESCRIPTION OF EXHIBITS* AND WITNESSES
300 Form 1040 1990
301 Form 1040 1991
302 Form 1040 1992
303 Form 1040 1993
304 Form 1046 1994
305 Form 1040 1995
306 Form 1040 1996
307 Form 1040 1997
308 Form 1040 1998
309 Form 1040 1999
310 Form 1040 2000
311 Form 1040 2001
312 Form 1040 2002
313 . Form 1040 2003
314 Form 1040 2004
315 Form 1040 2005
316 Form 1040 2006
317 Form 1040 2007
318 certificate of release of lien from Secretary for 1990 - 1995 dated August 23, 2007
319 lien on RV Patrick Turner and agreement
320 : Patterson Docket in 03-cr-55 hy 22. 40
| Witnosees Todd Gollihare, Brian Shem, Brian Millor ag inicey Se)
* Inchudg a notatiog as to the locatiog of any exhjbit not held vith the case file or not available because of size.
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Case 4:09-cr-00043-SPF Document 336-1 Filed in USDC ND/OK on 04/23/10 Page 15 of 25

FILED
OPEN COURT

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

APR 2 3 2010

UNITED STATES OF AMERICA

Plaintiff,
Case No. 09-CR-043-SPF

LINDSEY KENT SPRINGER,
OSCAR AMOS STILLEY

Defendants.

NOTICE OF APPEAL

Lindsey K. Springer (“Springer”) files his notice of appeal from the final order
and judgement by the United States Western Judicial District Court Judge Stephen P
Friot dated April p- 5, 2010.

(Fld Py

Lindsey K /SP /Springer//
Linsey Harvard, # 116
Tulsa, Oklahoma 74135
918-955-8225

Aprit 23, 2010

CERTIFICATE OF SERVICE
| hereby certify that a true and correct copy of Lindsey Kent Springer’s Notice

1

Case 4:09-cr-00043-SPF Document 336-1 Filed in USDC ND/OK on 04/23/10 Page 16 of 25

of Appeal was ecf’d on April a 2010 as well as hand delivered, to:

Kenneth P. Snoke,
Charles O’Reilly,
Oscar Stilley

4
Zila: fy

Case 4:09-cr-00043-SPF Document 336-1 Filed in USDC ND/OK on 04/23/10 Page 17 of 25

IN THE UNITED STATES DISTRICT COURT opens. IN
FOR THE NORTHERN DISTRICT OF OKLAHOMA RT

APR 2 3 2010

UNITED STATES OF AMERICA,

Plaintiff,

-vs- Case No. O 9-CR. OUs SF

Oscar Amos Shifleq

Defendant.

NOTICE OF APPEAL
Notice is hereby given that the above-named defendant does hereby appeal to the

Tenth Circuit Court of Appeals, the Judgment in a Criminal Case entered on fy a3 tl O

pate: “~/.Q8-/O (Lea? LE

Signature of Defendant

Case 4:09-cr-00043-SPF Document 336-1 Filed in USDC ND/OK on 04/23/10 Page 18 of 25

IN THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA, )

)
inti FILED}
Plaintiff, OPEN COURT
Vv. ) 09-CR-43-SPF APR 2 3 2010
)
LINDSEY KENT SPRINGER and ) vm
OSCAR STILLEY, ) BY:_ CYA:
Defendants. )

SPRINGER’S MOTION FOR STAY OF EXECUTION OF SENTENCE AND
RELEASE PENDING APPEAL

Lindsey Kent Springer (“Springer”) files his motion for stay of execution of
sentence and release pending appeal pursuant to Title 18, Section 3143(b),
3145(c)(exceptional circumstances) Federal Rules of Appellate Procedure Rule
8(1))(A), and Federal Rules of Criminal Procedure 38(b).

BACKGROUND

On May 15, 2009, Springer moved to dismiss each count of the indictment on
grounds the “U.S. Individual Income Tax Return” Form 1040 for years 2000 through
2007 violated the Paperwork Reduction Act of 1995 in regard to each request for
information form failing to display the information mandated by Congress at Title 44,
Section 3506(c)(1)(B)(i-v)(1995) as well as each purported from failed to comply with
ihe certification made pursuant to 5 CFR 1320.8 and 1320.9. See doc. 53 and 54.

On May 29, 2009, the United States opposed Springer’s motion claiming simply
ihe claims by Springer are “frivolous.” See doc. 71, pg. Unnumbered page 6.

in Two Bill of Particulars the United States maintained the Form 1040 is not

required to comply with the Paperwork Reduction Act because the filing of the “U.S.

individual Income Tax Returns” alleged as Form 1040s by the Grand Jury is an

1

Case 4:09-cr-00043-SPF Document 336-1 Filed in USDC ND/OK on 04/23/10 Page 19 of 25

obligation of Springer mandated by section 6012 and not regulation. See doc. 104, pg.
21

The Court in a minute order denied Springer’s Motion without any finding of facts
or conclusion of law. See Doc. 100.

Prior to Trial the Court determined Springer could present his good faith claims
regarding Form 1040 under the element of willfulness.

During Trial the Court directed the Jury that the Form 1040 did not violate the
Paperwork Reduction Act.

Springer moved for a new trial and judgment of acquittal. This Court denied

both Motions.

'The United States writes:

“Counts 2, 3, 5 and 6 of the Indictment each include the phrase "required by law"
in reference to Defendant Springer’s failure to file a federal income tax return.
The filing of income tax returns is mandated by statute. United States v. Collins,
920 F.2d 619, 630-31 (10th Cir. 1990); United States v. Dawes, 951 F.2d 1189,
1193 (10th Cir. 1991); United States v. Neff, 954 F.2d 698, 699-700 (11th Cir.
1992); United States v. Hicks, 947 F.2d 1356, 1359 (9th Cir. 1991); United States
v. Kerwin, 945 F.2d 92 (5th Cir. 1991); United States v. Wunder, 919 F.2d 34, 38
(6th Cir.1990). The statutes that required Defendant Springer file individual
federal income tax returns are as follows:

Title 26, United States Code Section 1 - Tax Imposed;

Title 26, United States Code Section 61 - Gross Income Defined;

Title 26, United States Code Section 63 - Taxable Income Defined;

Title 26, United States Code Section 601 1(a) - General Requirement of Return,
Statement or List;

Title 26, United States Code Section 6012(a)(1)(A) - Persons Required to Make
Returns of Income;

Title 26, United States Code Section 6072(a) - Time for Filing Income Tax
Returns;

Title 26, United States Code Section 6091 - Place for Filing Returns or Other
Documents; Title 26, United States Code Section 6151 - Time and Place for
Paying Tax Shown on Returns; Title 26, United States Code Section 7203 -
Willful Failure to File Return, Supply Information or Pay Tax.
Case 4:09-cr-00043-SPF Document 336-1 Filed in USDC ND/OK on 04/23/10 Page 20 of 25

ln regard to Springer’s claims under the Paperwork Reduction Act violations
where Springer claims the Court improperly told the fact finder the Form 1040 did not
violate the Paperwork Reduction Act, the Court stated:

Mr. Springer argues that on numerous occasions the court incorrectly

advised the jury that IRS Form 1040 did not violate the Paperwork

Reduction Act. In this motion, Mr. Springer argues that the PRA was his

“complete defense” and that the court improperly advised the jury that

Form 1040 complied with the PRA. Assuming that the PRA has any

application at all to the offenses charged in this case, the court rejects, as

it has done before, Mr. Springer’s contention that the Paperwork

Reduction Act provides him with a defense in this action. As held in United

States v. Dawes, 951 F.2d 1189, 1191-92 (10th Cir. 1991), quoted in

Springer v. United States, 447 F.Supp.2d 1235, 1238 (N.D. Okla. 2006),

“the requirement to file a tax return is mandated by statute, not by

regulation” and “such explicit statutory requirements are not subject to the

PRA.” The court’s statements to the jury regarding the PRA do not require

a new trial.

See doc. 293, pg. 6

1. Request for Release and Stay Execution of Sentence Pending Appeal.

Under title 18, Section 3143(1)(A) requires the Court to make a finding Springer
is not likely to flee or pose a danger to the safety of any other person or the community
if released.

Springer is not likely to flee. The evidence to this Court is Springer has traveled
all over this Country during the past year in relation to several cases pending in the
Northern District. The evidence is clear and convincing Springer poses no risk of
fleeing.

Springer has been on release since the indictment was returned and clearly and
unmistakably is not likely to pose a danger to the safety of any other person or the

community in which he lives. As reported by the Probation department in their final

3

Case 4:09-cr-00043-SPF Document 336-1 Filed in USDC ND/OK on 04/23/10 Page 21 of 25

report to this Court, Mr. Gollihare states Mr. Kehoe reported Springer was in
compliance with all bond conditions.

Turning to Title 18, Section 3143(1)(B), Springer is required to show his appeal
which is automatic is not for the purpose of delay and raises substantial questions of
law or fact likely to result in reversal, an order for a new trial, a sentence that does not
include imprisonment or a reduced sentence that is less than the time the appellate
process will take.

2. Springer raises issues with the defense provided by Congress under the PRA.

A. Does the Form 1040 comply with title 44, Section 3506(c)(1)(B) and
3512(1995) for years 2000 through 2007?

B. Does the PRA apply to criminal charges seeking penalties from Springer
inexorably linked to the payment of taxes and the filing of a return under Title 26,
Section 6012?

C. Did the Court erroneously instruct the jury Form 1040 did not violate the
PRA during trial?

There is no question but Springer’s appeal is not for the purpose of delay.
Springer has sought a ruling on the merits of his specific Paperwork Reduction Act
violations 5 different times from the district court and Tenth Circuit.

In the Tenth Circuit’s Order in 06-5123, that panel held Springer could not raise
the public protection on the offense but rather on the defense (complete). This Court
cited in its order of January 28, 2010, to Springer v. United States, 447 F.Supp.2d
1235, 1238 (N.D. Okla. 2006) which the Panel in 06-5123 specifically declined the

mandate by statute theory cited therein.
Case 4:09-cr-00043-SPF Document 336-1 Filed in USDC ND/OK on 04/23/10 Page 22 of 25

The Tenth Circuit held in U.S. v. Chisum 502 F.3d 1237,1244 “the PRA
precludes the imposition of any penalty against a person for ‘failing to comply with a
collection of information’ if it does not display a valid OMB control number or fails to
alert the person he is not required to respond to the collection of information unless it
displays a valid control number.” Quoting Section 3512 of Title 44.

The Panel in Chisum held Tax Forms are covered by the PRA. The defense
can be raised at any time. “But the PRA protects a person only for failing to file
information.” —_Id.

There is no question the Form 1040 is inexorably linked to the payment of taxes.

See U.S. v. Collins, 920 F. 2d, 619, 630 (fn. 13). There is equally no question the
Form 1040 must specifically comply with Title 44, Section 3506 and 5 CFR 1320.8 and
1320.9 which are the regulations promulgated by the Office of Management and
udget.

The Tenth Circuit on August 31, 2009, while this case was pending, published its
decision regarding Springer’s PRA claims of defense in 08-9004 vs. Commissioner, for
1890 through 1995, by saying Springer “has managed to advance several arguments in
this appeal that raise difficult issues under bot the tax code and the PRA.” The
Commissioner in that case attempted to argue the same the United States argued in
this case when opposing Springer’s defense claims under the PRA by saying the claims
opringer raised were “frivolous.” The Tenth Circuit published their decision Springer v.
CIR, 580 F. 8d 1142, 1144, by finding the Commissioner’s claims in this regard were

the claims that were frivolous. The Tenth Circuit stated that they had not ever held
Case 4:09-cr-00043-SPF Document 336-1 Filed in USDC ND/OK on 04/23/10 Page 23 of 25

Springer’s specific PRA claims were frivolous.

As in that case, 580 F. 3d 1142, (2009), Springer raised his defense to the claim
he was required to file Form 1040 U.S. Individual Income Tax Returns for 2000 through
2007, in this case, by asserting and showing that the Forms 1040 did not display the
mandated information required by Congress under Title 44, Section 3506(c)(1)(b)(i-v)
and nor did any of the forms display compliance with 5 CFR 1320.8 and 1320.9.
Springer’s claims are also supported by the Government Accountability Office Report
in May 2005 finding forms of the IRS do not comply with the PRA.

The United States has never opposed this position. They only argued the Form
1040 did not have to comply because the obligation to file was mandated by statute.
The Tenth Circuit in U.S. v. Dawes, 951 F.2d 1189, 1193 (1991) specifically rejected
the statutory origin theory and specifically held the requirement to file a U.S. Individual
income Tax Return Form 1040 was subject to the public protection of the PRA.

That protection provides:

a) otmithstanding any other provision of lam, no person aball be sitbject ro any
penalty for failing to comply mith a collection of information from a federal agency
that is silbject to rhia afibchaprer if — (

D che collection of information dora not display a valid control niimber
aesigned by rhe Director of rhe Mffice of Management and Hitdget in accordance
mith rhia sifbchaprers or

(2) rhe agency faile to inform rhe person urbe is to reapond to rhe collection
af information chat afich person is not reijiitred to reapond to the collection of
information finlesa it Displays a valid control nitmber.

(b) The protection provined by chia section may be raised in rhe form of a complete
defense, bar, or othermise at any time ditring rhe agency administrative process or
jiidicial action applicable thereto.

Ree Springer, 580 F.3d at 1143.

Springer is likely to prevail on his PRA claims as clearly the Form 1040 does not
Case 4:09-cr-00043-SPF Document 336-1 Filed in USDC ND/OK on 04/23/10 Page 24 of 25

comply, and the United States does not argue otherwise, with the requirements of Title
44, Section 3512 and 5 CFR 1320.8 and 1320.9.

Springer is also likely to prevail on the fact no district director exists or internal
revenue district regarding venue to file a return in the Northern Judicial District.

Springer is also likely to prevail on whether the definition of gift given by the
Court to the Jury violated the expost facto clause of the Constitution as it related to

Springer’s conduct alleged from 2000 through 2005.

CONCLUSION
Lindsey Kent Springer respectfully requests this Court stay execution of its
sentence on April 23, 2010, and allow Springer to remain released on bond pending

appeal based upon having met each of the factors set forth in Title 18, Section 3143(b).

bo “ye
Respectfullysubmitted

/s/ Lindsey K. Springer
Lindsey K. Springer

5147 S. Harvard, # 116

Tulsa, Oklahoma 74135

918-748-5539/955-8225(cell)

Case 4:09-cr-00043-SPF Document 336-1 Filed in USDC ND/OK on 04/23/10 Page 25 of 25

CERTIFICATE OF SERVICE
| hereby certify that a true and correct copy of Lindsey Kent Springer’s

iViotion for Stay and Release Pending Appeal was ecf’d on April 23, 2010, to:

Kenneth P. Snoke,
Charles O’Reilly,
Oscar Stilley

Lag he Dory.

/s/ Lindsey K. Springer
Signature

